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P R O B 35          ORDER TERMINATING SUPERVISED RELEASE
                          PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                            )
                                                    )
                            vs.                     )     Docket Number: 2:04CR00032-02
                                                    )
Christopher BURGESS                                 )
                                                    )


On April 8, 2005, the above-named was placed on Supervised Release for a period of
3 years, which commenced on September 6, 2005. He has complied with the rules and
regulations of supervision. It is accordingly recommended that he be discharged from
supervision.

                                      Respectfully submitted,

                                        /s/ Dayna D. Ward

                                   DAYNA D. WARD
                         Senior United States Probation Officer

Dated:        August 17, 2007
              Roseville, California
              ddw:cd

REVIEWED BY:                  /s/ Richard A. Ertola
                     RICHARD A. ERTOLA
                     Supervising United States Probation Officer




                                                                                                           R ev. 05/2006
                                                                E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
           Case 2:04-cr-00032-GEB Document 55 Filed 09/13/07 Page 2 of 2


Re:   Christopher BURGESS
      Docket Number: 2:04CR00032-02
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE



                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from Supervised Release, and that
the proceedings in the case be terminated.
Dated: September 11, 2007



                                        GARLAND E. BURRELL, JR.
                                        United States District Judge




Attachment: Recommendation
cc:   United States Attorney's Office
      FLU Unit, AUSA's Office
      Fiscal Clerk, Clerk's Office




                                                                                                       R ev. 05/2006
                                                            E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
